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AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case


                                    UNITED STATES DISTRICT COURT
                                                         District of Minnesota

UNITED STATES OF AMERICA                                                 §     JUDGMENT IN A CRIMINAL CASE
                                                                         §
v.                                                                       §
                                                                         §     Case Number: 15-CR-267 (JNE/LIB) (1)
ADAM ALAN ANDERSON                                                       §     USM Number: 18853-041
                                                                         §     Craig S. Hunter
                                                                               Defendant’s Attorney
                                                                         §
THE DEFENDANT:
☒ pleaded guilty to Count 1 of the Amended Information.
☐ pleaded nolo contendere to count(s) which was accepted by the court
☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                   Offense Ended          Count
21:841(a), 841(b)(1)(A) and 846 CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                              September 11, 2013     1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☒ The Indictment is dismissed on the motion of the United States.
☒ $100 Special Assessment is due and payable immediately.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  May 18, 2017
                                                                  Date of Imposition of Judgment




                                                                  s/Joan N. Ericksen
                                                                  Signature of Judge

                                                                  JOAN N. ERICKSEN
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  May 19, 2017
                                                                  Date




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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    ADAM ALAN ANDERSON
CASE NUMBER:                  15-CR-267 (JNE/LIB) (1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
240 months.

☒ The court makes the following recommendations to the Bureau of Prisons:
          (1) That the defendant be imprisoned at FCI Oxford. If the defendant is not imprisoned at FCI Oxford, that the
              defendant be imprisoned at an institution that has a culinary arts program.
          (2) That the defendant participate in the Residential Drug Abuse Program (RDAP).




☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                           on

          ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before                         on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                         to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                         2
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AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    ADAM ALAN ANDERSON
CASE NUMBER:                  15-CR-267 (JNE/LIB) (1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : five years.



                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
4.   ☒    You  must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
           work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.   ☐     You must participate in an approved program for domestic violence. (check if applicable)

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.




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AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    ADAM ALAN ANDERSON
CASE NUMBER:                  15-CR-267 (JNE/LIB) (1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




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AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    ADAM ALAN ANDERSON
CASE NUMBER:                  15-CR-267 (JNE/LIB) (1)

                                     SPECIAL CONDITIONS OF SUPERVISION
     a.   The defendant shall abstain from the use of alcohol and other intoxicants and not frequent establishments whose
          primary business is the sale of alcoholic beverages.

     b.   The defendant shall complete an immediate assessment or participate in a program for substance abuse as approved
          by the probation officer upon release or relapse during their term of supervised release. That program may include
          testing and inpatient or outpatient treatment, counseling, or a support group. Further, the defendant shall contribute
          to the costs of such treatment as determined by the Probation Office Co-Payment Program, not to exceed the total
          cost of treatment.

     c.   The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a search
          conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a reasonable
          manner, based upon reasonable suspicion of contraband or evidence of a supervision violation. The defendant shall
          warn any other residents or third parties that the premises and areas under the defendant's control may be subject to
          searches pursuant to this condition.

     d.   The defendant shall participate in a psychological/psychiatric counseling or treatment program, as approved by the
          probation officer. Further, the defendant shall contribute to the costs of such treatment as determined by the
          Probation Office Co-Payment Program not to exceed the total cost of treatment.

     e.   The defendant shall take any prescribed medications as directed by a medical provider.

     f.   If not employed at a regular lawful occupation, as deemed appropriate by the probation officer, the defendant may
          be required to perform up to 20 hours of community service per week until employed. The defendant may also
          participate in training, counseling, daily job search, or other employment-related activities, as directed by the
          probation officer.

     g.   The defendant shall cooperate with child support officials to make regular support payments and pay any
          outstanding child support obligations.




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AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    ADAM ALAN ANDERSON
CASE NUMBER:                  15-CR-267 (JNE/LIB) (1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payments of $                                              due immediately, balance due

      ☐ not later than                                          , or

      ☐ in accordance                     ☐       C,          ☐        D,         ☐     E, or        ☐      F below; or

B     ☐ Payment to begin immediately (may be combined with                        ☐     C,           ☐      D, or              ☐       F below); or

C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                                  (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                over a period of
                                (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment
             to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
             time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
             It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
             shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several
      See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
      Several Amount, and corresponding payee, if appropriate:




☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):

☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
      Any firearms, accessories, and ammunition involved in or used in connection with the violation, including, but not limited to: a
      Phoenix Arms, model HP25A, .25-caliber, semiautomatic pistol, serial number 4250913, and all associated accessories and
      ammunition.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




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